                        JOURNAL ENTRY AND OPINION
{¶ 1} Sua Sponte, we dismiss the instant appeal for lack of a final appealable order. The trial court adopted the magistrate's decision without separately stating its own judgment as required by Civ. R. 53(D) (4) (e) and Civ. R. 54(A). A trial court order stating that it is adopting a magistrate's decision is not a final appealable order. In re:Zinni, Cuyahoga App. No. 59899, 2008-Ohio-581, citing Harkai v. ScherbaIndus. (2000), 136 Ohio App.3d 211; Plymouth Park Tax Servs., LLC, etal., v. Margaret A. Frazier, et al., Cuyahoga App. Nos. 90343, 90352, 90353, 90354, 90356, 90357, 90464, 90525, and 90526, 2008-Ohio-3348. To constitute a final appealable order, the trial court's journal entry must be a separate and distinct instrument from that of the magistrate's order and must grant relief on the issues originally submitted to the court. Id., citing In re: Jesmone Dortch (1999), 135 Ohio App.3d 430.
Appeal dismissed.
It is ordered that appellees recover of appellant their costs herein taxed.
A certified copy of this entry shall constitute the mandate pursuant to Rule 27 of the Rules of Appellate Procedure.
  SEAN C. GALLAGHER, P.J., and KENNETH A. ROCCO, J., CONCUR *Page 1 